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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DON SILVER,                                       Civil No. 3:23-cv-1291

              Petitioner                          (Judge Mariani)

       V.


WARDEN , FCI-ALLENWOOD,

              Respondent

                                          ORDER

       AND NOW, this       15th day of September, 2023, upon consideration of the petition

for writ of habeas corpus pursuant to 28 U.S.C. § 2241, and for the reasons set forth in the

accompanying Memorandum, IT IS HEREBY ORDERED THAT:

       1.     The petition for writ of habeas corpus is DISMISSED. (Doc. 1).

       2.     The Clerk of Court is directed to CLOSE this case.




                                           Robert D. m•:....u,.....-,
                                           United States District Judge
